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      EXPERIAN INFORMATION SOLUTIONS,
  8   INC.
  9
                          UNITED STATES DISTRICT COURT
 10
                        CENTRAL DISTRICT OF CALIFORNIA
 11
 12
       BRYCE ABBINK, individually and         Case No. 8:19-cv-01257-JFW-PJWx
 13
       on behalf of all others similarly      Hon. John F. Walter
 14    situated,
                      Plaintiff,              DEFENDANT EXPERIAN
 15                                           INFORMATION SOLUTIONS
             v.                               INC.’S NOTICE OF MOTION
 16                                           AND MOTION TO DISMISS
 17    EXPERIAN INFORMATION
       SOLUTIONS, INC., et al.                Date:     September 16, 2019
 18                                           Time:     1:30 p.m.
                     Defendants.              Location: 7A
 19
 20                                           Complaint Filed: June 21, 2019
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 28
                                                                        NOTICE OF MOTION &
                                                                          MOTION TO DISMISS
                                                              Case No. 8:19-cv-01257-JFW-PJWx
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  1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
  2          PLEASE TAKE NOTICE that on September 16, 2019, at 1:30 p.m., or as
  3    soon thereafter as the matter may be heard, in Courtroom 7A of the Honorable John
  4    F. Walter of the United States District Court for the Central District of California,
  5    located at 350 W. 1st Street, Los Angeles, CA 90012, Defendant Experian
  6    Information Solutions, Inc. (“Experian”), will and hereby does, move the Court for
  7    an Order dismissing Plaintiff’s complaint as against Experian under Federal Rule of
  8    Civil Procedure 12(b)(6).
  9          This Motion is based upon the attached Memorandum of Points and
 10    Authorities, the Request for Judicial Notice, all of the papers on file in this action,
 11    and upon such further evidence or argument as the Court may consider. This
 12    Motion is made following the conference of counsel pursuant to L.R. 7-3, which
 13    took place on July 25, 2019.
 14
       Dated:       August 14, 2019                JONES DAY
 15
 16
                                                   By: /s/ Ryan D. Ball
 17                                                   Ryan D. Ball
 18                                               Attorneys for Defendant
                                                  EXPERIAN INFORMATION
 19                                               SOLUTIONS, INC.
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                                                                               NOTICE OF MOTION &
                                                                                MOTION TO DISMISS
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